
48 So.3d 1003 (2010)
Lester WHITE, III, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-3228.
District Court of Appeal of Florida, Fifth District.
December 3, 2010.
Lester White, Chipley, pro se.
Bill McCollum, Attorney General Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the order on Petitioner's Rule 3.850 motion entered October 22, 2009, in Case No. 05-2006-CF-14839-A, in the Circuit Court in and for Brevard County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
SAWAYA, PALMER and LAWSON, JJ., concur.
